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                    In the United States Court of Federal Claims
                                         OFFICE OF SPECIAL MASTERS
                                           Filed: January 31, 2023

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CHERISH MOORE,                             *             PUBLISHED
                                           *
                                           *
               Petitioner,                 *             No. 20-1589V
                                           *
v.                                         *             Special Master Gowen
                                           *
SECRETARY OF HEALTH                        *             Tetanus-diphtheria-pertussis
AND HUMAN SERVICES,                        *             (“Tdap”); Shoulder Injury Related
                                           *             to Vaccine Administration
               Respondent.                 *             (“SIRVA”); Entitlement.
* * * * * * * * * * * * *
Jessica A. Olins, Maglio Christopher & Toale Law Firm, Seattle, WA, for Petitioner.
Madelyn E. Weeks, U.S. Department of Justice, Washington, D.C., for Respondent.

                                           RULING ON ENTITLEMENT1

        On November 13, 2020, Cherish Moore (“Petitioner”) filed a petition under the National Vaccine
Injury Compensation Program (“Vaccine Program” or “Vaccine Act”). 2 Petitioner alleged that she
received a tetanus-diphtheria-acellular pertussis (“Tdap”) vaccination on October 2, 2019, which was the
actual cause of her developing a right Shoulder Injury Related to Vaccine Administration (“SIRVA”).
(ECF No. 35).

       On December 8, 2022, the undersigned issued a Finding of Fact, finding that petitioner has
demonstrated that her pain and shoulder dysfunction occurred with in the requisite time period after
receiving an the Tdap vaccination on October 2, 2019. Moore v. Sec’y of Health & Human Servs., No.
20-1589, 2022 WL 17986133 (Fed. Cl. Spec. Mstr. Dec. 8, 2022).

       On January 30, 2023, respondent filed an amended Rule 4(c) report requesting that the Special
Master decide the issue of entitlement in the above-captioned case. Respondent (“Resp.”) Amended
Rule 4(c) Report (“Rept.”) (ECF No. 44).


1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. §3501 note (2012), because this ruling contains a reasoned
explanation for the action in this case, I intend to post it on the website of the United States Court of Federal Claims.
The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the ruling is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files or
similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). “An
objecting party must provide the court with a proposed redacted version of the decision.” Id. If neither party files a motion
for redaction within 14 days, the ruling will be posted on the court’s website without any changes. Id.
2
 As set forth in Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99 -660, 100 Stat. 3755, codified as
amended, 42 U.S.C. § 300aa-10 to 34 (2012).
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        I.       Legal Standard

       The Vaccine Act provides two avenues for petitioners to receive compensation. A petitioner may
demonstrate either that she suffered a “Table” injury, 3 or that she suffered a different injury which was
caused-in-fact by a vaccine listed on the Vaccine Injury Table. In this case, petitioner is alleging she
suffered a Shoulder Injury Related to Vaccine Administration (“SIRVA”), which is a Table Injury. The
Table provides that The Vaccine Table’s Qualification and Aids to Interpretation (“QAI”) provides:

        Shoulder injury related to vaccine administration (SIRVA). SIRVA manifests as shoulder
        pain and limited range of motion occurring after the administration of a vaccine intended
        for intramuscular administration in the upper arm. These symptoms are thought to occur as
        a result of unintended injection of vaccine antigen or trauma from the needle into and
        around the underlying bursa of the shoulder resulting in an inflammatory reaction. SIRVA
        is caused by an injury to the musculoskeletal structures of the shoulder (e.g. tendons,
        ligaments, bursae, etc). SIRVA is not a neurological injury and abnormalities on
        neurological examination or nerve conduction studies (NCS) and/or electromyographic
        (EMG) studies would not support SIRVA as a diagnosis (even if the condition causing the
        neurological abnormality is not known). A vaccine recipient shall be considered to have
        suffered SIRVA if such recipient manifests all of the following:

        (i) No history of pain, inflammation or dysfunction of the affected shoulder prior to
        intramuscular vaccine administration that would explain the alleged signs, symptoms,
        examination findings, and/or diagnostic    studies occurring after vaccine injection;

        (ii) Pain occurs within the specified time frame;

        (iii) Pain and reduced range of motion are limited to the shoulder in which the intramuscular
        vaccine was administered; and

        (iv) No other condition or abnormality is present that would explain the patient’s symptoms
        (e.g. NCS/EMG or clinical evidence of radiculopathy, brachial neuritis, mononeuropathies,
        or any other neuropathy).

42 C.F.R. § 100.3(c)(10) (2017).

        II.      Discussion and Conclusion

        The undersigned resolved the factual issue of onset raised by respondent in the Finding of Fact
issue on December 8, 2022, in which the undersigned found that petitioner’s onset of pain occurred
within 48-hours of receipt of the Tdap vaccine administered on October 2, 2019. Moore, at * 10. The
Finding of Fact includes a review of petitioner’s medical records, affidavits of petitioner, declarations of
her husband, and declaration of her coworker. Id. at * 3-6. Those summaries will not be repeated here
but are incorporated herein by reference. Additionally, the Finding of Fact is incorporated herein by
references as if fully set forth.

3
 A “Table” injury is an injury listed on the Vaccine Injury Table, 42 U.S.C. § 100.3, corresponding to the vaccine received
within the time-frame specified.
                                                              2
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         In respondent’s amended Rule 4(c) report, he states, “In light of the Special Master’s fact ruling,
and medical record evidence submitted in this case, DICP has concluded that petitioner suffered SIRVA
as defined by the Vaccine Injury Table.” Resp. Rept at 7. Further, respondent states, “petitioner had no
recent history of pain, inflammation, or dysfunction of her right shoulder; the onset of pain occurred
within 48 hours after receipt of an intramuscular vaccination; the pain was limited to the shoulder in
which the vaccine was administered; and no other condition or abnormality has been identified to
explain petitioner’s right shoulder pain. Id. at 7 (citing 42 C.F.R. §§ 100.3(a),(c)(10). Respondent also
acknowledges that “petitioner suffered the residual effects of her condition for more than six months.”
Id. at 8. Therefore, “based on the record as it now stands and subject to his right to appeal the Finding of
Facts, respondent does not dispute that petitioner has satisfied all legal prerequisites for compensation
under the Act.” Id. (citing § 300aa-13).

        Based on the record as a whole, including the declarations of petitioner and other lay witnesses,
petitioner’s medical records, and respondent’s amended Rule 4(c) report, the undersigned finds that
petitioner has established a Table SIRVA injury resulting from her October 2, 2019 Tdap vaccination.
Thus, petitioner is entitled to compensation. A separate damages order will be issued.

       IT IS SO ORDERED.

                                                                     s/Thomas L. Gowen
                                                                     Thomas L. Gowen
                                                                     Special Master




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